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                UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF OKLAHOMA

 BNSF RAILWAY Company,                )
 a Delaware Corporation,              )
                                      )
       Plaintiff,                     )
                                      )
 vs.                                  )     Case No. CIV-19-769-G
                                      )
 CITY OF EDMOND, OKLAHOMA,            )
 An Oklahoma Municipal Corporation, )
 CITY OF DAVIS, OKLAHOMA,             )
 An Oklahoma Municipal Corporation, )
 TODD HIETT, in his capacity as       )
 Chairman of the Oklahoma Corporation )
 Commission,                          )
 BOB ANTHONY, in his capacity as      )
 Vice-Chairman of the Oklahoma        )
 Corporation Commission, and          )
 DANA MURPHY, in her capacity as      )
 Commissioner of the Oklahoma         )
 Corporation Commission,              )
                                      )
       Defendants.                    )

MOTION FOR PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT

                         Respectfully Submitted,

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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA

      BNSF RAILWAY Company,                )
      a Delaware Corporation,              )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )       Case No. CIV-19-769-G
                                           )
      CITY OF EDMOND, OKLAHOMA,            )
      An Oklahoma Municipal Corporation, )
      CITY OF DAVIS, OKLAHOMA,             )
      An Oklahoma Municipal Corporation, )
      TODD HIETT, in his capacity as       )
      Chairman of the Oklahoma Corporation )
      Commission,                          )
      BOB ANTHONY, in his capacity as      )
      Vice-Chairman of the Oklahoma        )
      Corporation Commission, and          )
      DANA MURPHY, in her capacity as      )
      Commissioner of the Oklahoma         )
      Corporation Commission,              )
                                           )
            Defendants.                    )

   MOTION FOR PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT

      Plaintiff BNSF Railway Company (“BNSF”), pursuant to Federal Rule of Civil

Procedure 65, seeks a preliminary injunction prohibiting Defendant City of Edmond

(“Edmond”), Defendant City of Davis (“Davis”), and Defendants Todd Hiett, Bob

Anthony, and Dana Murphy as Chairman, Vice-Chairman, and Commissioner,

respectively, of the Oklahoma Corporation Commission (the “OCC”) from prosecuting

enforcement actions under the Oklahoma Blocked Crossing Statute against BNSF.
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                                        OVERVIEW

       The Blocked Crossing Statute, 66 Okla. Stat. Ann. § 190 (enacted effective July 1,

2019), prohibits railcars from blocking street intersections for longer than 10 (or, in limited

instances, 20) minutes. Edmond issued BNSF two citations for separate alleged violations

of the new law, and Davis issued one. In each instance BNSF’s trains were conducting a

“meet and pass” maneuver where one train is diverted from the main line to a stationary

position on a side track (a “siding”) so a different on-coming train (travelling in the

opposite direction) can pass on the main line. The Blocked Crossing Statute is preempted

by federal law, which exclusively regulates such railroad operations.

       “Meet and pass” maneuvers implicate key railroad operational choices made

numerous times daily to facilitate train movements on the 957 miles of BNSF track in

Oklahoma and throughout the other 27 states where BNSF operates, such as: the quantity

of traffic on the rails, train length, train speed, scheduling, the location and availability of

sidings and priority given to certain cargo (including hazardous materials shipments that,

pursuant to federal law, must be forwarded to their destination without delay). These

operational decisions impact where, when and for how long a train sits on a siding, sidings

which may intersect one or more of the 1,000 plus highway rail grade crossings on BNSF’s

lines in Oklahoma.1 Unforeseeable events such as mechanical failures and weather also


1
  According to data maintained by the Federal Railroad Administration, there are 1,079
public, at-grade crossings on the BNSF system in Oklahoma. See Fed. R.R. Admin., Query
by Location, available at https://safetydata.fra.dot.gov/OfficeofSafety/PublicSite/
Crossing/XingLocResults.aspx?state=40&countycity=&railroad=BNSF&reportinglevel=
INDIVIDUAL&radionm=County&street=&xingtype=3&xingstatus=1&xingpos=1 (page
visited Aug. 26, 2019).

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impact when trains must stop in a position that blocks a crossing and how long the blockage

continues.

       Every jurisdiction to consider the issue ultimately has decided that (1) Federal

railroad operational laws expressly preempt state blocked crossing laws, and (2) Federal

railroad safety laws cover the issue of blocked of crossings so as to preempt state laws

concerning the same subject.

       Injunctive relief will preserve the status quo pending resolution of this case and is

warranted because (1) this Court is likely to follow the universal weight of authority finding

state blocked crossing laws are preempted, (2) there is a threat of irreparable harm which

(3) outweighs any harm to Defendants and (4) the injunction will not adversely affect

public interest.

                                          FACTS

       1.      BNSF is a railroad company incorporated under the laws of Delaware that

operates interstate trains by rail throughout the United States for compensation, including

in the state of Oklahoma.

       2.      Edmond is an Oklahoma municipal corporation.

       3.      Davis is an Oklahoma municipal corporation.

       4.      Defendants Todd Hiett, Bob Anthony, and Dana Murphy are Chairman,

Vice-Chairman, and Commissioner, respectively, of the OCC.

       5.      The OCC is a regulatory body established by the Oklahoma Constitution.

       6.      Effective July 1, 2019, Oklahoma enacted 66 Okla. Stat. Ann. § 190, which

prohibits railcars from blocking vehicular traffic at railroad intersections for more than ten


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(10) minutes, with a number of exceptions including a one-time exception for an additional

ten (10) minutes (hereinafter the “Blocked Crossing Statute”).

       7.      The Blocked Crossing Statute seeks to grant jurisdiction to municipalities,

county sheriffs, and state highway patrol officers to issue citations to railroad companies

for purported violations and requires these citations to be enforced before the OCC.

       8.      Through the issuance of an emergency rule (OAC 165:32-1-13) entitled

“Commission Enforcement of Blocked Crossing Citations,” the OCC instructs law

enforcement officers how to institute enforcement actions before the OCC through the

filing of a verified complaint, which then results in the OCC Secretary issuing a Citation

for Contempt and setting a hearing date to adjudicate the citation before an OCC

Administrative Law Judge (OAC 165:5-19-1).

       9.      On July 17, 2019, and July 29, 2019, respectively, an Edmond police officer

issued separate citations to BNSF alleging violations of the Blocked Crossing Statute at

intersections within Edmond.

       10.     On July 30, 2019, the City of Edmond’s Assistant City Attorney filed a

Complaint against BNSF before the OCC to institute enforcement proceedings for the two

Edmond citations, and the OCC Secretary issued a Citation and Notice of Hearing, setting

a hearing for contempt on August 28, 2019, at 8:30 a.m. at the OCC Oklahoma City Jim

Thorpe Office Building. True and correct copies of the two citations, the City of Edmond

Complaint, and the OCC Citation and Notice of Hearing are appended as Exhibit “1.”

       11.     On July 16, 2019, a Davis police officer issued a citation to BNSF alleging

violation of the Blocked Crossing Statute at an intersection within Davis.


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       12.    On August 1, 2019, the City of Davis’s City Attorney filed a Complaint

against BNSF before the OCC to institute enforcement proceedings for the Davis citation,

and the OCC Secretary issued a Citation and Notice of Hearing, setting a hearing for

contempt on August 28, 2019, at 8:30 a.m. at the OCC Oklahoma City Jim Thorpe Office

Building. True and correct copies of the citation, the City of Davis Complaint, and the

OCC Citation and Notice of Hearing are appended as Exhibit “2.”

       13.    Edmond and Davis seek orders for “contempt for alleged violations of the

Commission rules governing railroads in the State of Oklahoma” and fines in the combined

total amount of $3,000. Exhibits “1” and “2.”

       14.    Numerous operational, safety, federal regulatory and economic factors

influence when a train stoppage blocks a vehicle intersection and the duration of the stop,

including without limitation opposite traveling train “meet and passes”, emergency

operational events, limitations on train employees’ on-duty time imposed by the federal

Hours of Service Laws, federal requirements to conduct brake tests after reconnecting cars

detached from a train, train speed and train length. Affidavit of Jeffrey Garrels appended

as Exhibit “3.”

       15.    BNSF alleges additional facts regarding its operations, infrastructure and

train stoppages enumerated in Exhibit “3,” which is incorporated herein by reference.

                        APPLICABLE LEGAL STANDARDS

   A. The Standard for a Preliminary Injunction.

       Injunctive relief is warranted where (1) movant has a likelihood of success on the

merits, (2) there is a threat of irreparable harm which (3) outweighs any harm to Defendants


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and (4) the injunction would not adversely affect the public interest. Awad v. Ziriax, 670

F.3d 1111, 1125 (10th Cir. 2012). These factors are not considered in isolation from each

other and no one factor is dispositive. A preliminary injunction is customarily granted on

the basis of procedures that are less formal and evidence that is less complete than in a trial

on the merits. Univ. of Texas v. Camensich 451 U.S. 390, 395 (1981). The Federal Rules

of Evidence do not apply to a preliminary injunction hearing. Heideman v. S. Salt Lake

City, 348 F.3d 1182, 1188 (10th Cir. 2003).

   B. The Preemption Standard.

       The Supremacy Clause provides that the laws of the United States “shall be the

supreme law of the Land…any Thing in the Constitution or Laws of any State to the

Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. Thus, federal law preempts contrary

state law. See M'Culloch v. Maryland, 17 U.S. 316, 405-06 (1819). Preemption can be

either express or implied. Hillsborough Cty. v. Automated Med. Labs., Inc., 471 U.S. 707,

713 (1985). State laws are expressly preempted when they fall within the scope of a federal

provision explicitly precluding state action. See id. Alternatively, state laws may be

impliedly preempted either as a result of conflict or field preemption. See id. When a

federal statute contains an express preemption clause, the Court must focus on the plain

language of the statute to determine if the state law falls within the scope of a federal

preemption provision. Chamber of Commerce of U.S. v. Edmonson, 594 F.3d 742, 765

(10th Cir. 2010) (citations omitted) (upholding Judge Cauthron’s granting of a preliminary

injunction on preemption grounds prohibiting Oklahoma from enforcing provisions of the




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Oklahoma Taxpayer and Citizen Protection Act relating to immigration and verification of

employment eligibility).

                                       ARGUMENT

   A. BNSF is Likely to Succeed on the Merits because Oklahoma’s Blocked
      Crossing Statute is Preempted by the ICCTA and the FRSA.

       It is settled law that state blocked crossing statutes are not enforceable. “In short, if

there is to be a limit on the amount of time that a train is permitted to block a crossing, it

must come from the federal government.” CSX Transp., Inc. v. City of Plymouth, 92 F.

Supp. 2d 643, 659 (E.D. Mich. 2000), aff'd, 283 F.3d 812 (6th Cir. 2002).

       Time and again courts have found such laws preempted by the federal Interstate

Commerce Commission Termination Act (the “ICCTA”), 49 U.S.C. § 10101 et seq., and

the Federal Railway Safety Act (the “FRSA”), 49 U.S.C. § 20101 et seq. Oklahoma’s

Blocked Crossing Statute should meet the same fate.

       1. The ICCTA grants the federal Surface Transportation Board exclusive
          authority over transportation by rail carriers and the operation of tracks
          and facilities, expressly preempting Oklahoma’s efforts to govern railroad
          operations through its Blocked Crossing Statute.

       The federal Surface Transportation Board has jurisdiction over “transportation by

rail carriers.” 49 U.S.C. §§ 10501(b). The ICCTA’s remedies with respect to the regulation

of rail transportation are “exclusive and preempt the remedies provided under Federal

or State law.” Id. (emphasis added).

       The ICCTA expansively defines “railroad” to include the road used by a rail carrier

and any switch, spur, track, terminal, terminal facility, and a freight depot, yard, and

ground, used or necessary for transportation.         49 U.S.C. § 10102(6).          The term


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“transportation” means “services related to that movement, including receipt, delivery,

elevation, transfer in transit…and interchange of passengers and property.” 49 U.S.C. §

10102(9). This broad definition includes “virtually any property, track, or vehicle ‘related

to the movement of passengers or property, or both, by rail.’”           Allied Erecting &

Dismantling Co. v. Surface Transp. Bd., 835 F.3d 548, 550 (6th Cir. 2016).

       Accordingly, the ICCTA “preempts all ‘state laws that may reasonably be said to

have the effect of managing or governing rail transportation, while permitting the continued

application of laws having a more remote or incidental effect on rail transportation.’ What

matters is the degree to which the challenged regulation burdens rail transportation . . . .”

Ass’n of Am. R.Rs. v. S. Coast Air Quality Mgmt. Dist., 622 F.3d 1094, 1097-98 (9th Cir.

2010) (quoting N.Y. Susquehanna & W. Ry. Corp. v. Jackson, 500 F.3d 238, 252 (3d Cir.

2007)). But “[i]t is difficult to imagine a broader statement of Congress’ intent to preempt

state regulatory authority over railroad operations.” CSX Transp. Inc. v. Georgia Pub Serv.

Comm’n., 944 F. Supp. 1573, 1581 (N.D. Ga. 1996). Indeed, “[s]tate or local statutes or

regulations are preempted categorically [by the ICCTA] if they have the effect of managing

or governing rail transportation.” Delaware v. Surface Transp. Bd., 859 F.3d 16, 18 (D.C.

Cir. 2017) (internal quotations and citations omitted).

       This Court need look no further than the plain language of the following provision

to find the Blocked Crossing Statute has the effect of managing railroad operations: “Every

railroad shall be operated in such a manner as to minimize obstruction of emergency

vehicles at public highway grade crossings.” 66 O.S. § 190(C)(4) (emphasis added). By




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the statute’s express language, Oklahoma purports to impose restrictions on the operations

of railroads subject to the exclusive jurisdiction of the Surface Transportation Board.

       What’s more, the Blocked Crossing Statute has the practical effect of managing

operations by providing that “no railcar shall be brought to rest in a position which blocks

vehicular traffic at a railroad intersection with a public highway or street for longer than

ten (10) minutes,” and “[r]ailroads or other persons, firms or corporations operating over

tracks within the State of Oklahoma shall not block vehicle traffic at any railroad grade

crossing for a period of time in excess of ten (10) minutes.” 66 O.S. §§ 190(A), (C)(1).

These prohibitions “[d]ictate key operational choices….Railroads cannot schedule trains

or operate train yards in a way that forces them to stop trains for more than ten minutes at

a crossing to repair problems, perform safety checks, or wait for tracks to clear.” State v.

Norfolk S. Ry. Co., 107 N.E. 3d 468, 476 (Ind. 2018) (holding Indiana’s blocked crossing

statute was preempted by the ICCTA). Accordingly, the Blocked Crossing Statue is

categorically preempted under the rule established in Delaware, 859 F.3d at 19.

       A finding of preemption would align this Court with the great weight of judicial

authority addressing blocked crossing laws, meaning BNSF is very likely to succeed on

the merits in this case. See Elam v. Kansas City S. Ry. Co., 635 F.3d 796 (5th Cir. 2011)

(“Because Mississippi’s antiblocking statute is a direct attempt to manage KCSR’s

decisions in the economic realm, the statute is completely preempted by the ICCTA.”);

CSX Transp., Inc. v. Williams, No. 3:16CV2242, 2017 WL 1544958, at *2 (N.D. Ohio

(2017) (holding that the ICCTA preempted the Ohio statute “because it purports to regulate

rail transportation by dictating how railroads conduct their operations at crossings”);


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Burlington N. & Santa Fe Ry. Co. v. Dep’t of Transp., 206 P.3d 261 (Or. 2009) (holding

Oregon’s antiblocking regulation was “by its express terms, an ‘operating rule’ and a

‘regulation of rail transportation’”); City of Seattle v. Burlington N. R. Co., 41 P.3d 1169

(Wa. 2002) (“The language of the ICCTA is unambiguous. . . . Seattle’s ordinances

11.66.080 and 11.66.100 are preempted by the ICCTA.”); People v. Burlington N. Santa

Fe R.R., 148 Cal. Rptr. 3d 243 (2012) (“The State of California, by regulating the time a

stopped train can occupy a public rail crossing, has necessarily and directly attempted to

manage railroad operations.”).

       Just last year, a Kansas state court of appeals struck down Kansas’ blocked crossing

law on the basis of ICCTA preemption. State v. BNSF Ry. Co. 432 P.3d 77 (Kan. App.

2018). The same result was also reached last year by the Indiana Supreme Court. Norfolk

S. Ry. Co., 107 N.E. 3d at 476. Kansas’s and Indiana’s laws were strikingly similar to

Oklahoma’s, prohibiting railroads from allowing trains or railcars from standing on a

public road or crossing for more than 10 minutes at a time. It is likely that Oklahoma’s

law will meet the same result as its Kansas and Indiana counterparts.

       2. Oklahoma’s Blocked Crossing Statute is preempted by FRSA.

       Unlike the ICCTA, which concerns regulation over the economic and operational

aspects of railroads, the FRSA was enacted “to ‘promote safety in every area of railroad

operations and reduce railroad-related accidents and incidents.’” Cowden v. BNSF Ry. Co.,

690 F.3d 884, 890 (8th Cir.2012) (quoting 49 U.S.C. § 20101). The FRSA provides the

Secretary of Transportation broad power to “prescribe regulations ... for all areas of railroad




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safety.” Id. (quoting 49 U.S.C. § 20103(a)). Like the ICCTA, the FRSA also contains a

preemption provision:

       Laws, regulations, and orders related to railroad safety and laws, regulations,
       and orders related to railroad security shall be nationally uniform to the
       extent practicable. A State may adopt or continue in force a law, regulation,
       or order related to railroad safety or security until the Secretary of
       Transportation (with respect to railroad safety matters), or the Secretary of
       Homeland Security (with respect to railroad security matters), prescribes a
       regulation or issues an order covering the subject matter of the State
       requirement. A State may adopt or continue in force an additional or more
       stringent law, regulation, or order related to railroad safety or security when
       the law, regulation, or order—
       (A) is necessary to eliminate or reduce an essentially local safety or security
       hazard;
       (B) is not incompatible with a law, regulation, or order of the United States
       Government; and
       (C) does not unreasonably burden interstate commerce.

49 U.S.C. § 20106(a). See also Henning v. Union Pacific R.R. Co., 530 F.3d 1206, 1211-

12 (10th Cir. 2008).

       Preemption occurs when federal regulations substantially subsume the subject

matter of a particular state law. Lewis v. Norfolk S. Ry. Co., 618 F. Supp. 2d 833, 843

(W.D. Tenn. 2008) (citing CSX Transp., Inc. v. City of Plymouth, 92 F. Supp. 2d 643 (E.D.

Mich. 2000), aff'd, 283 F.3d 812, 817 (6th Cir. 2002)). While no federal regulation

expressly addresses the amount of time a train may block a street crossing, federal safety

laws regulating train safety completely occupy the subject of trains blocking crossings.

Driesen v. Iowa, Chicago & E. R.R. Corp., 777 F. Supp. 2d 1143, 1149 (N.D. Iowa 2011)

(citing Norfolk S. Ry. Co. v. Shanklin, 529 U.S. 344, 352, (2000)).

       The Secretary of Transportation has issued regulations setting maximum operating

speeds for different classes of track.   See 49 C.F.R. § 213.9(a); CSX Transp., Inc. v.


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Easterwood, 507 U.S. 658, 662 (1993). The speed limits not only establish a ceiling, but

also preclude additional state regulation and should be understood as covering the subject

matter of train speed with respect to track conditions, including the conditions posed by

grade crossings. Easterwood, 507 U.S. at 674-75.

       The Secretary has issued detailed regulations on air brake testing, which provide

comprehensive requirements for inspection and testing of brake systems and control the

timing and performance of tests and inspections. See 49 C.F.R. §§ 232.201-232.219. Also

relevant to this case, the Secretary has issued regulations establishing the testing required

following the removal of a car from a train and the interruption of brake pipe

continuity. See 49 C.F.R. § 232.211. The movement of trains is restricted until the tests

are completed and brake pipe pressure is restored. See id. When a train performs switching

maneuvers at or near crossings, it must also perform federally mandated air brake

inspections and tests before proceeding. See 49 C.F.R. § 232.215. These regulations apply

regardless of whether a “charging station” (essentially an air compressor) is present at the

crossing.2

       Further, the Secretary has issued regulations on grade crossing safety. See 49 C.F.R.

§§ 234.105-234.107. Those regulations control the speed of trains in the event of a failure,

partial activation or false activation of a grade crossing warning system and, in some

circumstances, require trains to stop before proceeding through a crossing. See id.



2
 The Blocked Crossing Statute provides a limited exception for blockages required for
performing air tests, but the exception applies only when a “working charging station
exists” at the crossing.

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       The Illinois Supreme Court found,

       “These various regulations on train speed, air-brake testing, and grade
       crossing safety work together to regulate and control the movement of trains
       at grade crossings. They control whether a train may be moved and the
       speed of a moving train. Taken together, the overall structure of these
       regulations substantially subsumes the subject matter of the movement
       of trains at grade crossings.”

Vill. of Mudelein v. Wisconsin Cent. R.R., 882 N.E.2d 544, 553 (Ill. 2008) (emphasis

added). Federal regulations governing train speed cover the subject matter of blocked

crossing laws because “[t]he amount of time a moving train spends at a grade crossing is

mathematically a function of the length of the train and the speed at which the train is

traveling.” Driesen, 777 F. Supp. at 1151 (citing CSX Transp., Inc. v. City of

Plymouth, 283 F.3d 812, 817 (6th Cir.2002)); Vill. of Mundelein, 882 N.E.2d at 555. See

also S. Pac. Co. v. Arizona, 325 U.S. 761, 775 (1945) (holding that state regulation of a

train's length violates the commerce clause).

       The Blocked Crossing Statute, by limiting the amount of time a railcar occupies a

crossing, indirectly regulates when and whether a train may be moved and, following the

logic of Driesen and Village of Mundelein, is preempted by the FRSA and the regulations

promulgated thereunder. And, the law’s “one-time exception” for certain switching

operations and other maneuvers, 66 O.S. § 190(C)(2), is not only impermissibly ambiguous

(e.g. one exception per operator, per journey or per some other measurement?), but also

fails to save the statute from preemption because it allows only an additional 10 minutes

of blockage time regardless of what federal regulations may require with respect to the

train’s movement. Likewise, the exception regarding air brake tests codified at 66 O.S. §



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190(C)(3) fails to save the statute from preemption because, inter alia, the exception is

limited to fewer than all circumstances where federal regulations require such testing.

   B. BNSF Will Suffer Immediate, Concrete and Irreparable Harm in the Absence
      of Preliminary Injunctive Relief by the Court.

       If found to have violated the Blocked Crossing Statute, BNSF faces monetary fines.

Because the OCC is imbued with state sovereignty, BNSF lacks a remedy to recoup the

fines if the statute later is found to be unenforceable by virtue of federal preemption. See

Ohio Oil Co. v. Conway, 279 U.S. 813, 815 (1929) (affirming issuance of an injunction in

the “absence under the local law of any remedy enforceable by the plaintiff” to recover

payments made under an invalid order); Gov’t Suppliers Consolidating Serv. V. Bayh, 734

F. Supp. 853, 863 (S.D. Ind. 1990) (“The plaintiffs . . . are barred from recovering damages

from the state due to the doctrine of sovereign immunity and the eleventh amendment to

the Constitution. Thus, the plaintiffs have no adequate remedy at law.”) (internal citations

omitted). Further, BNSF foreseeably faces the immediate threat of multiple citations and

enforcement actions issued across the state of Oklahoma because other municipalities are

actively encouraging enforcement of the statute at issue. See Josh Wallace, Oklahoma City

police ask residents to report trains blocking roads, The Oklahoman (Aug. 7, 2019),

https://oklahoman.com/article/5638004/oklahoma-city-police-asking-residents-to-report-

trains-blocking-roads.

       Moreover, because the mandates within the Blocked Crossing Statute conflict with

federal regulations to which BNSF is subject, compliance with both standards may be

impossible in some circumstances. In those circumstances, exposure to liability could be



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significant when accounting for the operation of negligence claims premised on a violation

of federal regulations in the event of any accident caused by actions taken to comply with

the Blocked Crossing Statute (or vice versa). See Vermont Railway, Inc. v. Town of

Shelburne, 287 F. Supp. 3d 493, 504 (D. Vt. 2017) (“[T]he only adequate remedy for this

injury is to enjoin the enforcement of the Storage Ordinance. Monetary damages will not

suffice, as it is not feasible for the Railway to operate in constant violation of a Town

ordinance.”).3

    C. The Harm to BNSF Substantially Outweighs Any Risk of Harm to the OCC,
       Davis or Edmond.

      BNSF’s harm likely will outweigh any harm potentially suffered by the OCC,

Edmond or Davis if an injunction is issued. In fact, it is difficult to imagine what harm

would result to any Defendant by not enforcing the Blocked Crossing Statute which has

been in effect only since July 1, 2019, and which had no predecessor in effect in the 130

plus years that BNSF and its predecessor railroads have been operating in Oklahoma.4




3
 There are other potential economic harms associated with infrastructure and operational
changes that compliance with the Oklahoma Blocked Crossing Statute might necessitate.
BNSF reserves the right to present evidence of such harm at a hearing on this Motion.
4
  One of BNSF’s predecessor lines, the Atchison, Topeka, and Santa Fe (“ATSF”) built the
line going through what is now Edmond and Davis after acquiring its right of way by an
1884 Act of Congress. Act of July 4th, 1884, chaps. 177, 179, 48 Stat. 69, 73 (1884). The
town of Edmond, which was established two years after the construction of the rail line, is
named for Edmond Burdick, an ATSF traveling freight agent. Barbara Granger,
“Edmond,”      The    Encyclopedia       of    Oklahoma      History      and     Culture,
https://www.okhistory.org/publications/enc/entry.php?entry=ED002 (page visited Aug.
22, 2019).

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   D. The Public Interest Will Not be Adversely Affected by the Granting of an
      Injunction.

       The stated purpose of the Blocked Crossing Statute to further the safety and welfare

of the people of the state of Oklahoma will not be undermined by the issuance of a

temporary injunction during the pendency of this matter. 66 O.S. § 190(A). In Edmond,

one of the crossings over the BNSF main line and siding is grade separated (i.e., an

underpass), and in Davis, there is a grade-separated crossing south of the siding

approximately three miles (in driving distance) from the Main Street crossing. Thus, when

a train is stopped in the sidings at either Edmond or Davis, there remains a means of

crossing the tracks. The availability of alternative access thus underscores the questionable

nature of the purported safety threat the Blocked Crossing Statute seeks to address given

that no such statute was deemed necessary until last month (despite a long history of

railroad operation in Oklahoma). The existence of a threat is further undermined by the

reality that the Blocked Crossing Statute is replete with exceptions to its own rule that are

unrelated to safety. Id. §§ 190(C)(1)-(C)(2)(c).

                                     CONCLUSION

       WHEREFORE, for all the above stated reasons, the Court should grant BNSF’s

Motion for Preliminary Injunction and enjoin Edmond, Davis and the OCC from any

further efforts to enforce the Blocked Crossing Statute against BNSF, including through

continued prosecution of proceedings pending before the OCC or issuance of additional

citations, until such time as the merits of this matter can be determined.




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                     Respectfully Submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that on August 28, 2019, I caused a true and correct copy of the

foregoing to be delivered upon the following:

 Todd Hiett, Chairman                           Bob Anthony, Vice-Chairman
 Oklahoma Corporation Commission                Oklahoma Corporation Commission
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 Oklahoma City, Oklahoma 73105                  Oklahoma City, Oklahoma 73105

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                                         /s/ J. Dillon Curran
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